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 1
                               UNITED STATES DISTRICT COURT
 2                           SOUTHERN DISTRICT OF CALIFORNIA
 3
          MS. L, et al.,                                Case No. 18cv428 DMS MDD
 4
 5                  Petitioners-Plaintiffs,
                                                        JOINT STATUS REPORT
 6        vs.
 7
          U.S. IMMIGRATION AND
 8        CUSTOMS ENFORCEMENT, et
 9        al.,

10                  Respondents-Defendants.
11
12
          The Court ordered the parties to file a joint status report (“JSR”) by 3:00pm on
13
14 April 12, 2019, in anticipation of the status conference scheduled at 1:00pm on April
15 16, 2019. The parties submit this joint status report in accordance with the Court’s
16
   instruction.
17
18 I.     DEFENDANTS’ POSITIONS

19     A. Update on Reunifications
20
          As of April 11, 2019, Defendants have discharged 2,759 of 2,814 possible
21
22 children of potential class members. See Table 1: Reunification Update. This is an
23 increase of ten discharges reported in Table 1 since the JSR filed on March 27, 2019.
24
   See ECF No. 388. Three of the ten children were discharged by being reunified with
25
26
27
28

                                              1                              18cv428 DMS MDD
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     the separated parent; and the remaining seven were discharged under other
 1
 2 appropriate circumstances, such as discharges to other appropriate sponsors.
 3
           Currently, there is one child in ORR care proceeding towards reunification or
 4
 5 other appropriate discharge. This child has a parent who departed from the United
 6 States, but the Steering Committee has advised that resolution of parental preference
 7
     will be delayed. Defendants are supporting the efforts of the Steering Committee to
 8
 9 obtain a statement of intent from the parent. Once Defendants receive notice from
10 the Steering Committee, Defendants will either reunify the child or move him into
11
     the TVPRA sponsorship process, consistent with the intent of the parent.
12
13         In the last JSR, Defendants reported a child in ORR care, with a parent in the

14 class, for whom the Steering Committee advised Defendants that it was unable to
15
     obtain parental preference regarding reunification. Because the Steering Committee
16
17 has communicated that it considers this case as resolved for its purposes, Defendants
18 have re-categorized this child as having a parent out of class, and will attempt to find
19
   a sponsor for the child under the TVPRA process.
20
21       The current reunification status for the 2,814 children ages 0 through 17 who

22 have been the focus of Defendants’ reporting to date is further summarized in Table
23
   1. The data in Table 1 reflects approximate numbers on these children maintained
24
25 by ORR at least as of April 11, 2019. These numbers are dynamic and continue to
26
27
28

                                               2                              18cv428 DMS MDD
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     change as more reunifications, determinations on class membership, or discharges
 1
 2 occur.
 3
                               Table 1: Reunification Update
 4
                                                           Phase 1   Phase 2
 5                      Description                        (Under 5) (5 and Total
                                                                     above)
 6   Total number of possible children of potential
     class members                                     107            2707       2814
 7
                                   Discharged Children
 8
     Total children discharged from ORR care:                106      2653       2759
 9
10          • Children discharged by being            82              2080       2162
              reunified with separated parent
11          • Children discharged under other
12            appropriate circumstances (these
              include discharges to other sponsors
13            [such as situations where the child’s   24              573        597
14            separated parent is not eligible for
              reunification] or children that turned
15            18)
16                      Children in ORR Care, Parent in Class
17   Children in care where the parent is not eligible
     for reunification or is not available for discharge      0        1          1
18   at this time:
19   • Parent presently outside the U.S.               0               1          1
           o Steering Committee has advised that       0               1          1
20
              resolution will be delayed
21   • Parent presently inside the U.S.                0               0          0
22         o Parent in other federal, state, or local  0               0          0
              custody
23         o Parent red flag case review ongoing –     0               0          0
24            safety and well being
                       Children in ORR Care, Parent out of Class
25
     Children in care where further review shows
26   they were not separated from parents by DHS       1               8          9
27
28

                                               3                             18cv428 DMS MDD
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     Children in care where a final determination has
 1   been made they cannot be reunified because the          0           15        15
     parent is unfit or presents a danger to the child
 2
     Children in care with parent presently departed
 3   from the United States whose intent not to              0           28        28
     reunify has been confirmed by the ACLU
 4   Children in care with parent in the United States       0           1          1
     who has indicated an intent not to reunify
 5   Children in care for whom the Steering                  0           1          1
     Committee could not obtain parental preference
 6
 7
        B. Update on Removed Class Members
 8
           The current reunification status of removed class members is set forth in Table
 9
10 2 below. The data presented in this Table 2 reflects approximate numbers maintained
11
     by ORR as of at least April 11, 2019. These numbers are dynamic and continue to
12
     change as the reunification process moves forward.
13
14                 Table 2: Reunification of Removed Class Members
15     REUNIFICATIO          REPORTING METRIC                      NO.    REPORTING
16     N PROCESS                                                          PARTY
       STARTING
17     POPULATION            Children in ORR care with parents      30    Defs.
                             presently departed from the U.S.
18
19     PROCESS 1:
       Identify &            Children with no “red flags” for
20     Resolve               safety or parentage                    30    Defs.
       Safety/Parentage
21     Concerns
22     PROCESS 2:        Children with parent contact
       Establish Contact information identified                     30    Defs.
23     with Parents in
       Country of Origin Children with no contact issues
24                       identified by plaintiff or defendant       30    Defs. & Pls.

25                           Children with parent contact
                             information provided to ACLU by        30    Defs.
26                           Government
27
28

                                              4                               18cv428 DMS MDD
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     PROCESS 3:         Children for whom ACLU has
 1   Determine          communicated parental intent for       28   Pls.
     Parental Intention minor:
 2   for Minor
                          • Children whose parents             28   Pls.
 3
                              waived reunification
 4
                            • Children whose parents
 5                             chose reunification in          0    Pls.
                               country of origin
 6
                            • Children proceeding outside      0    Pls.
 7                             the reunification plan
                         Children for whom ACLU has not
 8                       yet communicated parental intent      1    Pls.
                         for minor:
 9
                            • Children with voluntary
10                             departure orders awaiting       0    Defs.
                               execution
11
                            • Children with parental
12                             intent to waive reunification   0    Defs.
13                             documented by ORR
                            • Children whose parents
14                             ACLU has been in contact        0    Pls.
15                             with for 28 or more days
                               without intent determined
16                       Children whose parents steering
                         committee could not obtain            1    PIs
17                       parental preference
18   PROCESS 4:          Total children cleared Processes 1-
     Resolve             3 with confirmed intent for           0    Pls.
19   Immigration         reunification in country of origin
     Status of Minors
20   to Allow               • Children in ORR care with
     Reunification            orders of voluntary              0    Defs.
21
                              departure
22                          • Children in ORR care w/o
23                            orders of voluntary              0    Defs.
                              departure
24                             o Children in ORR care
25                                whose immigration            0    Defs.
                                  cases were dismissed
26
27
28

                                          5                           18cv428 DMS MDD
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          C. Update Regarding Government’s Implementation of Settlement
 1
             Agreement
 2
             SETTLEMENT             DESCRIPTION                   NUMBER
 3              PROCESS
         Election Forms 1       Total number of executed     347 (222 Parents/125
 4                              election forms received           Children)2
                                by the Government
 5
                                   • Number who elect         189 (121 Parents/68
                                                                   Children)
 6                                     to receive
                                       settlement
 7
                                       procedures
 8                                 • Number who               158 (101 Parents/57
                                                                   Children)3
 9                                     waive settlement
                                       procedures
10       Interviews             Total number of class                 1394
                                members who received
11                              interviews
12                                 • Parents who                       73
                                       received
13                                     interviews
14                                 • Children who                      66
                                       received
15
                                       interviews
16
17
18   1
     The number of election forms reported here is the number received by the
19 Government as of April 5, 2019.
   2
20 The number of children’s election forms is lower than the number of parent election
   forms because in many instances a parent electing settlement procedures submitted
21 an election form on his or her own behalf or opposing counsel e-mailed requesting
22 settlement implementation for the entire family, but no separate form was submitted
   on behalf of the child.
23 3
     The number of children’s waivers is lower because some parents have submitted
24 waivers only for themselves and some parents who have waived reunification also
25 waived settlement procedures and have therefore not provided a form for the child.
     4
26     Some individuals could not be interviewed because of rare languages; these
     individuals were placed in Section 240 proceedings.
27
28

                                            6                               18cv428 DMS MDD
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 1       Decisions              Total number of CFI/RFI               66 5
                                decisions issued for
 2                              parents by USCIS
                                   • Number of parents                66 6
 3                                     determined to
 4                                     establish CF or RF
                                       upon review by
 5                                     USCIS
 6                                 • Number of parents                 0
                                       whose CF or RF
 7                                     finding remains
 8                                     negative upon
                                       review by USCIS
 9                              Total number of CFI                   73 7
                                decisions issued for
10                              children by USCIS
                                   • Number of                        73 8
11
                                       children
12                                     determined to
13                                     establish CF by
                                       USCIS
14
15   5
     This number is the aggregate of the number of parents whose negative CF/RF
16 determinations were reconsidered, number of parents whose negative CF/RF
   determination was unchanged, and individuals who were referred to Section 240
17 proceedings without interview because of a rare language. This number excludes 12
18 cases where a parent already had an NTA from ICE or was already ordered removed
   by an IJ (which are included in the interview totals).
19 6
     This number includes parents who received positive CF/RF determinations upon
20 reconsideration, parents who received a Notice to Appear based on their child’s
21 positive CF determination, and parents who were placed in Section 240 proceedings
   due to a rare language.
22 7
     This number is the aggregate of the number of children who received a positive CF
23 determination, the number of children who received a negative CF determination,
   and children who were referred to Section 240 proceedings without interview
24
   because of a rare language.
25 8 This number includes children who received a positive CF determination, children
26 who received a Notice to Appear as a dependent on their parent’s positive CF
   determination, and children who were placed in Section 240 proceedings due to a
27
28

                                            7                              18cv428 DMS MDD
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 1                                     • Number of                        0
                                           children
 2                                         determined not to
 3                                         establish CF by
                                           USCIS
 4       Removals                   Number of class                 100 Parents 9
 5                                  members who have been
                                    returned to their country
 6                                  of origin as a result of
                                    waiving the settlement
 7                                  procedures

 8        D. Parents Who ICE Records Reflect Have Absconded After Being
 9           Released
10
         Absconders                 Number of Parents who               14310
11                                  absconded from
                                    enrollment in ATD
12                                  (Alternatives To
                                    Detention)
13
14        E. March 8, 2019 Order Regarding Class Definition

15            On April 5, 2019, in accordance with this Court’s March 28, 2019 order, ECF
16
     No. 391, Defendants filed with the Court their Proposed Expanded Ms. L. Class
17
18 Identification Plan Summary and supporting declarations. Concurrent with that
19 filing, Defendants designated interagency operational leads. HHS has also begun
20
     preparing the dataset that would be relevant to the approximately 47,000 children
21
22 who were referred to and discharged from ORR care between July 1, 2017, and June
23 25, 2018. HHS has facilitated discussions involving ORR subject matter experts, the
24
25 rare language.
26   9
         This number is as of April 6, 2019.
     10
27        Data from time period of May 4, 2018, to April 5, 2019.
28

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     ORR data team, and interagency data team members to identify and refine a list of
 1
 2 candidate variables relevant to the development of a statistical prediction model. As
 3
     explained in the Declarations of Jonathan White and Barry Graubard, ECF Nos. 394-
 4
 5 2 and 394-3, the model would be used to group the records of the approximately
 6 47,000 possible children of potential class members for the expansion class
 7
     according to the probability of parental class membership, in order to allow for
 8
 9 efficient identification of class members and children.
10         HHS has also initiated an expedited procurement process, so that Defendants
11
     can hire the additional staff required to implement the Proposed Expanded Ms. L.
12
13 Class Identification Plan if necessary. Defendants anticipate that they would have
14 to hire at least three data scientists on a contract basis, plus at least ten contractors
15
     to work full time as part of the manual Case File Review Team.
16
17      F. Pending Motion Regarding Released Settlement Class Members

18         The parties met and conferred regarding this issue on March 27, 2019. On
19
     April 3, 2019, Plaintiffs sent a list of questions regarding the information provided
20
21 by Defendants. Defendants responded to these inquiries on April 12, 2019. The
22 parties will continue to meet and confer to resolve these issues.
23
      G. Children Awaiting Placement.
24
25        On April 3, 2019, Plaintiffs sent an email requesting information regarding
26 the status of 17 children who remain in ORR custody, and whose parents were
27
28

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     removed and waived reunification. Of those 17 children, four have been discharged
 1
 2 to sponsors, and a fifth currently has a potential sponsor undergoing the assessment
 3
     process. Five children have been placed in ORR long-term foster care because they
 4
 5 have no viable sponsor and because legal service providers identified them as being
 6 potentially eligible for legal relief. The last seven children remain in shelter care
 7
     because they lack viable sponsors and have no potential legal relief identified.
 8
 9      H. Government Processes, Procedures, and Tracking, for Separations Since
           June 26, 2018.
10
11            1. Data Requested by Plaintiffs

12         Defendants are providing Plaintiffs with an updated report containing
13
     information regarding parents and children separated since the Court’s June 26, 2018
14
15 preliminary-injunction order in conjunction with today’s JSR. Defendants will
16 continue to provide updated reporting on a regular basis on any new separations.
17
              2. Processes and Procedures
18
19         Defendants have provided a summary outline memorializing the processes,

20 procedures, tracking, and communication between the agencies that have been
21
   adopted by the agencies since June 26, 2018. The outline also included an overview
22
23 of the options for separated parents and children to obtain information about
24 reunification options. Defendants also have reached out to representatives for the
25
   Bureau of Prisons and the U.S. Marshals Service to ensure that those entities are
26
27 included in discussions regarding these processes and procedures.
28

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           On March 4, 2019, Plaintiffs and lawyers for the children’s legal service
 1
 2 providers sent comments and questions in response to the government’s proposals.
 3
     Defendants have reviewed those comments and questions, and the parties have set a
 4
 5 time to meet and confer on April 15, 2019, regarding those inquiries.
 6
     II.   MS. L. PLAINTIFFS’ POSITION
 7
     1.    Identifying the Pre-June 26 Families
 8
           On April 5, the government submitted its plan to identify the pre-June 26
 9
     separated families referenced in the internal HHS report. The plan gives the
10
     government up to two years to identify the families. Plaintiffs believe that is
11
     unacceptable and that the families can be identified much more quickly. In
12
     advance of the upcoming hearing next week, Plaintiffs intend to submit specific
13
     reasons why the government does not need two years and how the identification
14
   process can be completed in far less time.
15 2.    Centralized Database and Procedures and Standards to Govern Further
16       Separations
17       The parties continue to meet and confer on how to address the continuing
18 separations.
19 3.    Deported Parents and Settlement
20         The parties continue to confer on this issue. Plaintiffs expect, however, that
21 the issue will need to be addressed in the next JSR and status conference.
22 4.     Information Regarding Parents Separated from Children After June 26
23         Plaintiffs have requested additional information and clarification from the
24 government regarding the bases for the post-June 26 separations. In the last JSR,
25 the government stated they would provide the information on April 5. As of the
26 time of filing, Plaintiffs have not yet received the requested information.
27
28

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 1        Plaintiffs have requested rolling disclosures of separations, as the last
 2 government disclosure included only separations between June 26, 2018 and the
 3 end of January 2019. Plaintiffs have also requested additional information about
 4 the basis of separations, including that government identify the criminal history it
 5 relied upon for some parents; that the government provide further details of the
 6 criminal history it identified for other parents; and that the government elaborate
 7 on separations explained only as being for “other” reasons. The parties are meeting
 8 and conferring on this issue.
 9 5.     Additional Information Requests
10        Plaintiffs have made requests for additional information about class
11 members that have been pending with the government for more than two months
12 without a response. These requests include:
13        • Additional information about the basis for the government decision to
14            exclude seven parents from the class. The government “recategorized”
15            these parents as separated on December 12, 2018, but then informed
16            Plaintiffs that they were excluded from the class. Plaintiffs requested
17            information about the bases for this exclusion on February 27, 2019.
18        • Additional information about the basis for the government decision to
19            deny reunification to four parents who were excluded from the class on
20            criminal grounds after September 7, 2018. Plaintiffs requested this
21            information on December 5, 2018.
22        • Clarification as to the number of parents identified on certain government
23            lists as having “waived reunification,” but not included on government
24            lists identifying the universe of Ms. L. class members. Plaintiffs have
25            requested this information repeatedly beginning on February 27, 2019,
26            the most recent being March 4, 2019.
27
28

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     F.     STEERING COMMITTEE PROGRESS
 1
 2          The Steering Committee has successfully contacted and confirmed the
 3 preferences of nearly all removed parents with respect to reunifications. On April
 4 5, the government reported that, as of April 4, 31 children with removed parents
 5 remained in ORR custody. 11 The Committee has delivered preferences for the
 6 parents of 29 of those children, and those children are awaiting placement with
 7 sponsors in accordance with their parents’ submitted preferences. For the two
 8 remaining parents, the Steering Committee has advised the government that no
 9 parental preference will be forthcoming due to complex and individualized family
10 circumstances.
11          The status of efforts based on the government’s April 4 list of 31 children in
12 ORR custody with removed parents appears in the table immediately below.
13    Removed parents identified by the government to the Steering               31
14    Committee as of 4/4/2019
15
      Parent’s final preference has been communicated to the government          29 12
16
          • Parent has elected reunification in Country of Origin                0
17
18        • Parent has elected to waive reunification in Country of Origin       29
19    Total number of cases that the Steering Committee has indicated to         2
20    the government should be set aside
21
          • No parental preference will be forthcoming due to complex and        2
22          individualized family circumstances
23
     11
      As discussed at the October 25 Status Conference, in this Joint Status Report
24 Plaintiffs are reporting a set of detailed numbers based only on the government’s
25 most recent list of children in ORR custody with removed parents.
            12
26              The Steering Committee determined that for one child it was
   appropriate to report the preference of a non-removed parent because the Steering
27 Committee was unable to reach the removed parent.
28

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 1
 2 G.       Children Whose Parents Have Submitted Preferences and Are Still
            Detained
 3
 4          The Steering Committee continues to follow up with the government about
 5 the status of children who remain in ORR custody for prolonged periods after
 6 submitting preferences. According to the government’s April 4 data, 14 of the 31
 7 children in ORR custody have been separated from their parents for at least five
 8 months, with half of those children having been in ORR for seven months or
 9 longer. The Steering Committee will continue to meet and confer with the
10 Government regarding these children.
11
     III.   MMM-Dora Plaintiffs’ Report Regarding Settlement Implementation
12
13          As reported in the prior JSR, and per the Court’s February 22, 2019 Order

14 (ECF No. 362), the Government provided Dora and M.M.M. counsel with a list
15
     of class members with removal orders, which includes individuals with either
16
17 expedited removal orders or final removal orders. Plaintiffs’ counsel have
18 examined the list to determine how many of the individuals on the list have
19
   provided signed settlement forms, and have reached the preliminary conclusion
20
21 (subject to further meet and confer with the Government) that less than 25% of
22
     the individuals on the list have submitted forms.
23
24          The parties have been meeting and conferring about the data and the best
25 way to identify class members who may be in need of settlement relief. The
26
27
28

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 1 Government has recently provided Plaintiff’s counsel with additional address
 2 information to facilitate outreach to class members.
 3
           In addition, the parties continue to work together to implement the
 4
 5 settlement agreement approved on November 15, 2018. Counsel for Plaintiffs are
 6 providing the government with signed waiver forms as they are received from
 7
   class members (detained and released). The parties are meeting and conferring
 8
 9 on settlement implementation issues as they arise, and are working together to
10
     resolve (among other issues) the discrepancy between the number of waiver forms
11
12 submitted by class counsel and the number of forms reported by the
13 Government. The parties will alert the Court of any issues that require the Court’s
14
   guidance.
15
16 DATED: April 12, 2019                  Respectfully submitted,
17
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                                     Office of Immigration Litigation
26                                   Civil Division
                                     U.S. Department of Justice
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